
706 S.E.2d 244 (2011)
CROSLAND ARDREY WOODS, LLC
v.
BEAZER HOMES CORPORATION.
No. 419PA10.
Supreme Court of North Carolina.
March 10, 2011.
John D. Burns, Raleigh, for Beazer Homes Corporation.
John W. Francisco, Charlotte, for Crosland Ardrey Woods, LLC.

ORDER
Upon consideration of the conditional petition filed on the 4th of October 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 10th of March 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Plaintiff shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a *245 written undertaking with good and sufficient surety in the sum of $250.00.
